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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
District of Maine [~]
ANDREW U. D. STRAW )
Plaintifj/Petitioner )
v. ) Civil Action No.
UNIVERSITY OF MAINE )
Defendant/Respondent )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. If incarcerated. 1 am being held at: .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. If not incarcerated. If 1am employed, my employer’s name and address are:
N/A - SSDI disability benefit since 2008

My gross pay or wages are: § 0.00 , and my take-home pay or wages are: $ 0.00 per

(specify pay period)

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment W Yes O No
(b) Rent payments, interest, or dividends O Yes No
(c) Pension, annuity, or life insurance payments O Yes WNo
(d) Disability, or worker’s compensation payments & Yes O No
(e) Gifts, or inheritances & Yes No
(f) Any other sources W Yes No

If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

SSDI 2024 $1,430 per month; SSDI 2025 $1,466 per month

$50 Povaddo survey Jan 2025 1X

$1,000 editing gig Nov 2024 1x

$131 AT&T/FB settlements Aug/Sep 2024 1x

$1,000 United Breast Cancer Foundation Scholarship Aug 2024 1x

$1,000 gift Dec 2024
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4. Amount of money that I have in cash or in a checking or savings account: $ 11.00 .

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

$200 computer and screen and peripherals
$100 Android cell phone

$200 clothes
Service dog
6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):
Set fee: housing & food & meds/health & electric & water & transp & Internet: $1,400
Netflix: $11/month

Pacer.gov: $15/month
PhysicalAddress: $7.98/month

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

ROSANNA INDAP QUIJANO (fiancee & mental health aide) - included in $1,400 above

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

$1,000 USCA7
$350 Indiana Election Commission

$210 Sallie Mae Student Loan (est.)
$23,000 Direct Loans (est.)

All 2024 excess income (above SSDI) paid landlord damage debts caused by another person's children.

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

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Date: 06/17/2025

Applicant's signature

ANDREW U. D. STRAW

Printed name

